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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA


    STATE OF GEORGIA,

    v.                                     Case No. 1:23-cv-03621-SCJ

    MARK R. MEADOWS


    STATE OF GEORGIA

    v.                                     Case No. 1:23-cv-03721-SCJ

    JEFFREY BOSSERT CLARK



         MOTION OF AMICI CURIAE CYNTHIA ALKSNE, ERWIN
    CHEMERINSKY, AMY LEE COPELAND, JULIE GROHOVSKY, SARAH
        SALDANA, AND SHAN WU FOR LEAVE TO FILE BRIEF IN
     OPPOSITION TO THE EMERGENCY MOTIONS OF DEFENDANTS
         JEFFREY BOSSERT CLARK AND MARK R. MEADOWS

         Cynthia Alksne, Erwin Chemerinsky, Amy Lee Copeland, Julie Grohovsky,

Sarah Saldana, and Shan Wu respectfully move for leave to file the attached brief

as amici curiae in opposition to Jeffrey Clark’s and Mark Meadows’s emergency

motions seeking to stay state court criminal proceedings.1 In support of their

motion, amici state the following:



1Cynthia Alksne is a career federal prosecutor, serving in the United States
Department of Justice, as an Assistant US Attorney in the United States Attorney’s
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      This Court possesses the “inherent authority” to grant leave to file an amicus

brief. Ga. Aquarium, Inc. v. Pritzker, 135 F.Supp.3d 1280, 1288 (N.D. Ga 2015).

The Court has recognized that leave to file an amicus brief is appropriate where

amici “contribute to the court’s understanding of the matter in question” by

proffering “timely and useful” information. Id. (quoting Conservancy of Southwest

Florida v. U.S. Fish and Wildlife Serv., 2010 WL 3603276 at *1 (M.D. Fla. Sept. 9,

2010)), and where amici “demonstrate[] sufficient interest in [the] litigation.”

DeJulio v. Georgia, 127 F.Supp.2d 1274, 1285 (N.D. Ga. 2001)).


Office in Washington, as Assistant District Attorney in the Brooklyn, NY District
Attorney’s Office, and as Assistant Attorney General for the State of Texas.

Erwin Chemerinsky is the Dean of the University of California Berkeley School of
Law, where he holds the title of Jesse H. Choper Distinguished Professor of Law.
He frequently argues appellate cases, including in the United States Supreme
Court. He is the author of numerous books, including leading casebooks and
treatises about constitutional law, criminal procedure, and federal jurisdiction and
has authored over 200 law-review articles.

Amy Lee Copeland is a former Georgia federal prosecutor and criminal defense
attorney.

From 2001 to 2004, Julie Grohovsky served as an Attorney Advisor in the Office
of the Inspector General for the Department of Justice. Previously, she served as an
Assistant United States Attorney in the District of Columbia.

The Honorable Sarah R. Saldaña is the former Director of Immigration & Customs
Enforcement under President Barack Obama. Prior to her role at ICE, she served as
the United States Attorney for the Northern District of Texas.

Shan Wu previously served as Counsel to Attorney General Janet Reno and as an
Assistant United States Attorney in Washington, D.C.
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       Amici curiae are former prosecutors and a federal courts scholar. They have

decades of experience with the issues raised in the emergency motions, including

those regarding removal and collateral consequences in the federal and state court

contexts. Amici seek leave to file this brief because, given their decades of public

service, their personal familiarity with the constitutional issues at issue here, and

their commitment to the integrity of our democratic system, they maintain an

active interest in the proper resolution of the questions raised by the emergency

motions.

       Amici respectfully submit that their proposed amicus brief may assist the

Court in its decisional process and in its evaluation of the legal issues raised by the

emergency motions. The proposed amicus brief is narrowly tailored to key issues

before the Court and granting leave would not cause any delay or prejudice to the

parties.

       For the foregoing reasons, amici request this Court grant them leave to file

the attached brief.2


2Counsel for amici contacted counsel for the parties to seek leave to file the amicus
brief. Counsel from the Fulton County District Attorney’s Office consented.
Counsel for Jeffrey Clark did not consent. Counsel for Mark Meadows did not
consent and asked that undersigned counsel provide the following statement of his
client’s position: “While the ultimate issues of removal and immunity might be a
different matter, Mr. Meadows does not consent to an amicus filing on his motion
for emergency relief. The Court has directed the State to respond today and has not
allowed for any other filings, including a reply brief. An additional filing of non-
parties in opposition would not be appropriate under the circumstances.”
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Dated: August 23, 2023

                              Respectfully submitted,

                              _/s/ Brian Kammer_____________
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*Pro hac vice applications forthcoming




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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that this brief has been

prepared in Times New Roman, 14-point font, one of the fonts and point selections

approved by the Court in Local Rule 5.1(C).


                                                    /s/Brian Kammer
                                                    Brian Kammer
                                                    Georgia Bar No. 406322

                                                    Counsel for Amici Curiae




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